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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:06CR153
                                                  )
       vs.                                        )             ORDER
                                                  )
FELIPE PEDRAZA RUIZ,                              )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of defendant Felipe Pedraza Ruiz
(Ruiz) to withdraw his motion to disclose a confidential informant (Filing No. 50). The
motion is granted, and Ruiz’s motion for disclosure of confidential informant (Filing No. 43)
shall be termed on the docket.
       IT IS SO ORDERED.
       DATED this 21st day of June, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
